JS 44 (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replace nor
provided by local rules ot` court. This form, approved by the J udicial Conference of
purpose of initiating thc civil docket shect.

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 1 of 11
CIVIL COVER SHEET

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533 11

cmcnt the filing and service ofpleadings or other papers as required by law, except as
nited States in September 1974, is required for the use ofthe Clerk of Couit for the
(SEE [NSTRUCTIONS ONNEXTPAGE OF THIS FORM)

 

I. (a) PLAINTIFFS
Kath|een Ki|roy

(b) County of Residenee of First Listed Plaintiff

Camden Cty., NJ

(EXCEPTIN U.S. PLAINTIFF CASES)

(C) Attorneys (Firnz Name, Addl'ess, and Tele[)hone Num[)e))
Steven A. Schwartz, Chimic|es & Tike||is LLP

361 W. Lancaster Ave., Haverford, PA 19041 (610) 642-8500

NOTE:

Attorncys (Ifl(nown)

 

DEFENDANTS

Cigna Corp., Connecticut Gen. Life |ns. Co., Cigna Hea|th &
Life lns. Co., American Specia|ty Hea|th lnc., et a|.

Phi|a. Cty., PA

County of Rcsidcncc of First Listcd Defendant

(lN U.S. PLAINT[FF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRAC'I` OF LAND lNVOLVED.

 

Il. BASIS OF JURISDICTlON (P]ace an l‘X" in One Box Onl_v)

 

(Far Dive)'sit)-' Cases Onl)')

III. CITlZENSHIP OF PRINClPAL PARTIES (Place an "X" in ()ne Er)xfor Plai)xt;'/'f

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IV. NATURE OF SUIT (P/ace an “X" in One Box Only) Click here for: Nature of Suit Code Descriptions.
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES l
D 110 lnsurance PERSONAL INJURY PERSONAL lNJURY El 625 Drug Related Seizure El 422 Appeal 28 USC 158 El 375 False Claims Act
D 120 Marine El 310 Aiiplzme U 365 Personal lnjury - ofI’roperty 21 USC 881 U 423 Wi!hdrawal Cl 376 Qui Talri (31 USC
Cl 130 Miller Act |J 315 Airplanc Product Product Liability Cl 690 Other 28 USC 157 3729(a))
C| 140 Negotiable lnstrument Liability Cl 367 Heallh Care/ [J 400 S!ale Reapporlionment
Cl 150 Rccovery ovaerpaymen\ Cl 320 Assault, Libel & Pharmaceutical PROPERTY RlGHTS Cl 410 Antilrust
& Ent`orcement of.ludgment Slander Personal Injury Cl 820 Copyrights Cl 430 Banks and Banking
Cl 151 Medicare Act CJ 330 Federa| Employers' I’roduct Liability |:| 830 Patenl D 450 Commerce
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D 153 Recovery of Overpayment Liabili\y PERSONAL PROPERTY LABOR SOCIAL SECURITY D 480 Consumer Credit
ofVe!eran's Benef`l!s El 350 Motor Vehicle D 370 Olher Fi'aud El 710 Fair Lnbor Standards El 861 HlA (13951`1') Cl 490 Cable/Sat TV
13 160 Stockholders‘ Suils D 355 Motor Vehicle 13 371 Trulh in Lending Act Cl 862 Blaek Lung (923) Cl 850 Securities/Commodilies/
Cl 190 Other Contract Product Liability Cl 380 Other Persona| 13 720 Labor/Management C] 863 DlWC/DlWW (405(g)) Exchange
El 195 Contraet Product Liability El 360 Othcr Pcrsonal Property D:\mage Relations EJ 864 SSlD Titlc XVI Cl 890 Othcr Stntutory Actions
Cl 196 Franchise lnjury D 385 Property Damage Cl 740 Railway Labor Act Cl 865 RSl (405(g)) Cl 891 Agricul!ural Aets

Cl 362 Pcrsonal Injury -
Medical Malpractice

Product Liability

 

I_ REAL PROPERTY

ClVIL RIGHTS

PRlSONER PETIT|ONS

 

D 210 Land Condcmnation

Cl 220 Foreclosure

Cl 230 Ren! Lease & Ejeclment
EJ 240 Torts to Land

Cl 245 Tort Product Liability
Cl 290 All Other Rcal Property

 

Cl 440 Othei' Civil Rights

13 441 Voting

Cl 442 Emp|oyment

111 443 Housing/
Accommodations

Cl 445 Amcr. w/Disabilities -
Emp|oymcnt

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Other

|J 448 Education

 

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Scntencc

530 General

535 Death Pcnalty

Other:

540 Mandamus & O!her

550 Civil Righ!s

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560 Civil Detainee -
Conditions of
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g 751 Family and Mcdical
Leave Act

CI 790 Olher Labor Litigalion

s 791 Employce Rctirement
lncome Secnrily Act

Cl 893 Environmental Matters
C| 895 Freedom oflnformation

 

FEDERAL 'I`AX SUITS

Act

 

 

IMMIGRATION

 

 

CJ 462 Nmuralization Appliea!ion
El 465 Other lnnnigration
Aclions

 

Cl 870 Taxes (U.S. Plaintiff
or Def`endant)

Cl 871 lRS_Third Party
26 USC 7609

Cl 896 Arbitration

U 899 Administrative Procedurc
Act/Revie\v or Appeal of
Agcncy Dccision

Cl 950 Constilutionality of
State Statutcs

 

 

V. ORIGIN (Place an "X"ill

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KI Original_ Cl 2 Removed from C| 3 Remanded from El 4 Reinstated or El 5 Transferred from Cl 6 Multidistrict CI 8 Multidistrict
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(specij)) Transfer Direet File

 

VI. CAUSE OF ACTION

VII. REQUESTED IN
C OMPLAINT:

 

g CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.CV.P.

vnI. RELATED CASE(s)

(See instmclion.\').'

DEMAND $

Cit€: the U.S. Clvll Stamt€ under Wl‘lich you are filing (Do lml cite jurisdictional statutes unless di\'crsity):
29 U.S.C. S€CflOn 1132(3)
Brief description of cause:

C|aim for benefits under ER|SA

CHECK YES only if demanded in complaint

JURY DEMAND:

 

l:lNo

NYes

 

 

IF ANY JUDGE Nitza |. Quinones A|ejandro DOCKET NUMBER 2:‘16-cv-03967
DATE siGNATuRE F AWNY.EQQRD
04/12/2018 §`/< /%*
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Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 2 of 11

UNITED STATES DISTRICT COURT

FOR THE EASTERN DlSTRlC'I` OF PENNSYLVANIA - DESIGNATlON FORM to be used by counsel to indicate the category of the case for the purpose ot'
assignment to appropriate calendar.

Address ofplaimiff; 3025 Gladwyn Avenue, Pennsauken, N] 08109
Address ofDefendant: 1650 Mal'l{€t Stl'€€t, Pl'll.laCl€lDl'lla, PA 19192

Place of Accident, lncident or Transaction: Philadelphia: PA
(U.re Reverse Side FarAdditional Space)

Does this civil action involve a nongovernmental Corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

 

(Attach two copies of the Disclosure Statement Forrn in accordance with Fed.R.Civ.P. 7. l(a)) YesD NOE
Does this ease involve multidistrict litigation possibilities? YesEl NoM
RELA TED CASE, IF ANY:

Case Number:l- ] 6_¢\/-()’4967 JudgeNitZa I. QulIlOI]€S Al€iandl'O Date Terminated:

 

Civil cases are deemed related when yes is answered to any of the following questions:

l. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yesl:l Ndc]
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yesl:l NOH
3. Does this case involve the validity or infringement of a patent already in suitor any earlier numbered case pending or within one year previously
YesE| NJC

terminated action in this court?

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yeslll N<>K

 

Crer: (Place \/ in oNE CATEGORY oNLY)

A. Federal Quesrr'an Cases: B. Diversiry Jurisdiction Cases:

1. CI Indemnity Contract, Marine Contract, and All Other Contracts 1. E! Insurance Contract and Other Contracts

2. U FELA 2. E\ Airplane Personal Injury

3. U Jones Act-Personal Injury 3. Cl Assault, Defamation

4. El Antitrust 4. El Marine Personal Injury

5. EI Patent 5. El Motor Vehicle Personal Injury

6. D Labor-Management Relations 6. El Other Personal Injury (Please specify)

7. Cl Civil Rights 7. D Products Liability

8. El Habeas Corpus 8. Cl Products Liability_ Asbestos
9. D All other Diversity Cases

9. 13 Securities Act(s) Cases
10. U Social Security Review Cases (Please specify)

 

1 LH All other Federal Question Cases
(Please specify) ERISA

ARBITRATION CERTIFICATION
(Check Appraprr'ale Calegary)
1, St€V€H A. SCl'lWal‘fZ , counsel of record do hereby certify:
§§ Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
8150,000.00 exclusive of interest and costs;
D Relief other than monetary damages is sought

DATE: April 12, 2018 S`<- Pr i`,}/\< 50579

Attomey-at-Law Attomey l.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

1 certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court

except as noted above.

 

DATE: April 12, 2018 $~< il 2/‘*\-»-» 50579
Attomey-at-Law Attomey l.D.#

CIV. 609 (5/2012)

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 3 of 11
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address Ofplaimiff; 3025 Gladwyn Avenue, Pennsauken, N] 08109
Addressofpefendam: 1650 Marl<et Street, Philadelphia, PA 19192

Place of Accident, lncident or Transaction: Philadelphia) PA
(Use Reverse Side FarAdditionaI Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.CivtP. 7.1(a)) Yesl:l NoH
Does this case involve multidistrict litigation possibilities? YesD NoH
RELA TED CASE, IFANY:

Case Number: 2- 1 6_Cv_()7,967 JudgeNltZa l. QulIlOH€S Al€iandl‘O Date Terminated:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

l. is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yes[l ng

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yes[l NoH
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or Within one year previously
terminated action in this court? Yes[l Ndh

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yes[l NOM

 

civn.: (Place \/ in oNE cATEGoRY oNLY)

A Federal Que.rlion Cases: B. Diversity Jurisdr'ction Cases:

1. U Indemnity Contract, Marine Contract, and All Other Contracts l. E| Insurance Contract and Other Contracts
2. E\ FELA 2. El Airplane Personal Injury

3. U Jones Act-Personal Injury 3. U Assault, Defamation

4. |3 Antitrust 4. EJ Marine Personal Injury

5. 13 Patent 5. El Motor Vehicle Personal Injury

6. U Labor-Management Relations 6. E| Other Personal Injury (Please specify)
7. |Il Civil Rights 7. El Products Liability

8. E\ Habeas Corpus 8. EI Products Liability_ Asbestos

9. U Securities Act(s) Cases 9. D All other Diversity Cases

10. El Social Security Review Cases (Please specify)

 

ll.]ll All other Federal Question Cases
(Please specify) ERISA

ARBITRA'I`ION CERTIFICATION
(Check Appropriate Calego)y)
I, St€V€l'l A. SChWaI‘tZ , counsel of record do hereby certify:
§§ Pursuant to Local Civil Rule 53.2, Section 3(0)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
8150,000.00 exclusive of interest and costs;
U Relief other than monetary damages is sought.

DATE,APril 12» 2018 é,`»’i /i §`/`O/' 50579

Attomey-at-Law Attomey I.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

l certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

mm Apri112,2018 5/>¢; ~/i ©/\a/ 50579

Attomey-at-Law Attomey I.D.#
ClV. 609 (5/2012)

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 4 of 11

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

KATHLEEN KILRoY, ; CIVlL ACTION
Plaintiff,
V.
CIGNA CoRPoRATIoN, er al. NO_
Defendants.

In accordance With the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shall, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track

to Which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus _ Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration _ Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks

April 12, 2018 §,,_. A~ £/V<=’/, Plaintiff Kathleen Kilroy

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(X)

 

 

Date Attornéy-at-law Attorney for
(610) 642-850() (610) 649-3633 SaS@ChimiCl€S.COrn
T;lephone FAX Number E-Mail Address

(Civ. 660) 10/02

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 5 of 11

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

KATHLEEN KILROY, on behalf of herself and
all others similarly situated,

Plaintiff,

V.

CIGNA CORPORATION; CONNECTICUT
GENERAL LIFE INSURANCE COMPANY; Case No.

CIGNA HEALTH AND LIFE INSURANCE
COMPANY; AMERICAN SPECIALTY
HEALTH INCORPORATED; and AMERICAN
SPECIALTY HEALTH GROUP, INC.,

Defendants.

 

 

CLASS ACTION COMPLAINT
Plaintiff Kathleen Kilroy, on behalf of herself and all others similarly situated, brings this
class action against Defendants Cigna Corporation; Connecticut General Life Insurance
Company; CIGNA Health and Life Insurance Company; American Specialty Health
Incorporated; and American Specialty Health Group, Inc. for the following violations of the
Employee Retirement Income Security Act of 1974, as amended (“ERISA”):

INTRODUCTION

l. This class action challenges a scheme devised by Defendant Cigna Corporation
and its subsidiaries (“Cigna”) that misappropriates millions of dollars every year from Cigna
members and employers who sponsor Cigna-administered health insurance plans that are subject
to ERISA (the “ERISA Plans”). Through this scheme, Cigna secretly inflates member and plan

responsibility to pay for claims and forces these innocent parties to pay charges to its vendors,

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 6 of 11

including Defendants American Specialty Health Incorporated and American Specialty Health
Group, Inc. (“ASH”).

2. Cigna hired ASH to assist it in building a network of healthcare providers and to
process and administer health care claims submitted by providers These are functions that Cigna
would otherwise perform, and Cigna is already compensated for these services through plan fees
and subscriber premiums But Cigna does not compensate ASH for ASH’s services to Cigna out
of Cigna’s own pocket. Rather, Cigna and ASH collude to shift ASH’s charges to members and
plans on a claim-by-claim basis Under the false pretense that ASH’s charges are medical
expenses Cigna and ASH secretly assess these charges to members and plans as part of
members’ and plans’ financial responsibility for health care claims

3. Cigna conceals Defendants’ cost-shifting scheme by sending false Explanation of
Benefits forms to members that misrepresent ASH’s charges as ordinary medical expenses billed
by a medical provider. These misrepresentations serve as the cover that allows Defendants
illegally to (i) obtain payment of ASH’s charges directly from members when the members’
deductibles have not been reached; (ii) use members’ health spending accounts to pay for these
charges; (iii) inflate members’ co-insurance obligations by including ASH’s charges in claims
for medical services; (iv) artificially reduce the amount of available coverage for medical
services when such coverage is subject to an annual cap; and (v) obtain payment of ASH’s
charges directly from plans when a members’ deductible has been exhausted or is inapplicable.

4. Through this class action, Plaintiff seeks relief for this scheme pursuant to

ERISA.

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 7 of 11

PARTIES
Plaintiff
5. Plaintiff Kathleen Kilroy was insured by Cigna under a health insurance plan
offered through her private employer, Macy’s Inc. Ms. Kilroy’s plan is governed by ERISA. Her
plan, the Macy’s, lnc. Health Care Program (the “Macy’s Plan”), is self-insured by Macy’s, and
Cigna Health and Life Insurance Company provides claim administration for the Macy’s Plan.
Ms. Kilroy resides in Pennsauken, New Jersey. She brings this action on her own behalf and on
behalf of all similarly situated individuals and plans
Defendants
6. Defendant Cigna Corporation is a Delaware corporation with its principal
business address at One Liberty Place, 1650 Market Street, Philadelphia, Pennsylvania, United
States 19192. Its corporate headquarters are located at 900 Cottage Grove Road, Bloomfield, CT
06002. Cigna Corporation is a global health insurance company. As reported in Cigna
Corporation’s 2014 Form lO-K, all of the company’s products and services, including the health
services that Cigna Corporation provides to the public on a nationwide basis, are provided
exclusively through its operating subsidiaries including Defendants Connecticut General Life
Insurance Company (“CGLIC”) and Cigna Health and Life Insurance Company (“CHLIC”).
CHLIC is a wholly owned subsidiary of CGLIC that is a wholly owned subsidiary of
Connecticut General Corporation (CGC), which is an indirect, wholly owned subsidiary
of Cigna Corporation. Cigna Corporation and its subsidiaries are referred to as “Cigna” in this
Complaint.
7. Defendant Connecticut General Life Insurance Company is a Connecticut

corporation with its principal office address at 900 Cottage Grove Road, Bloomf`ield, CT 06002.

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 8 of 11

8. Defendant Cigna Health and Life Insurance Company is a Connecticut
corporation with its principal office address at 900 Cottage Grove Road, Bloomfield, CT 06002.

9. Defendant American Specialty Health lncorporated is a Delaware corporation
headquartered at 10221 Wateridge Circle, San Diego, CA 92121-2702. lt is the corporate parent
of Defendant American Specialty Health Group, Inc.

10. Defendant American Specialty Health Group, lnc., formerly known as American
Specialty Health Networks, lnc., is a California corporation with its principal mailing address at
10221 Wateridge Circle, San Diego, CA 92121-2702, and its principal office address at 12800 N
Meridian Street, Carmel, lN 46032. It is registered to do business and has an authorized
registered agent in Pennsylvania.

11. Defendants American Specialty Health lncorporated and American Specialty
Health Group, Inc. are collectively referred to herein as “ASH.” ASH administers chiropractic
and other benefits for more than 20 million people in Pennsylvania and throughout the United
States. lt has contracted with its own network of more than 21,000 providers of chiropractic
services Among its clients, ASH provides claims administration for chiropractic services for
Cigna.

12. Due to the manner in which they function, including the discretion they exercise
in making coverage determinations with respect to ERISA plans, Defendants are functional
ERISA fiduciaries and, as such, they must comply with fiduciary standards

JURISDICTION AND VENUE

13. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§ 1331 (federal question) and 29 U.S.C. § 1132(e)(1) (ERISA).
14. Venue is proper in this district pursuant to 18 U.S.C. § l965(a), 18 U.S.C.

§l965(b), 28 U.S.C. § 1391, and 29 U.S.C. §1132(€)(2). Cigna conducts business in this

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 9 of 11

district ASH serves as a vendor for Cigna and conducts business in Pennsylvania (including by

administering benefits for Cigna’s Pennsylvania members).

FACTUAL ALLEGATIONS
Background

15. Globally, Cigna has approximately 80 million customer relationships and 832.4
billion in annual revenues According to Cigna’s 2014 Forrn lO-K, nearly 80% of those revenues
come from its Global Health Care segment The Global Health Care segment consists of Cigna’s
“Commercial” and “Government” operating segments

16. Through its Commercial operating segment, Cigna offers medical insurance plans
to customers in all 50 states and the District of Columbia.

17. According to Cigna’s 2014 Form lO-K, the plans that it offers can be either self-
insured plans or fully-insured plans with claims funded out of premiums paid to Cigna by the
plan sponsor (usually an employer) and/or the plan sponsor’s employees For the fully-insured
plans those who wish to be covered (i.e., members), and/or plan sponsors on their behalf, pay
premiums to Cigna that entitle them to benefits provided by the plan, which are paid out of
Cigna’s assets

18. Benefits paid by a self-insured plan are primarily funded by plan sponsors who
are usually employers Members of self-funded plans are often required to pay premiums to the
plan, which entitles them to benefits provided by the plan. While the benefits issued by self-
funded plans are ultimately paid out of the plan Sponsor’s assets Cigna has full discretion and
authority to issue checks for the payment of benefits under self-funded plans out of bank
accounts Cigna maintains and controls When Cigna foresees that it will need additional funds

for the accounts used for the payment of benefits it obtains such funds from the plan sponsors

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 10 of 11

19. In either Situation, Cigna serves as the “claims administrator” with responsibility
for processing and adjudicating claims submitted by members and providing members with
access to a network of providers who have agreed to accept discounted fees from Cigna-
administered health insurance plans in exchange for providing covered services Many of the
plans sold by Cigna are governed by ERISA (the “ERISA Plans”).

20. ln exchange for serving as the claims administrator for a self-funded plan, Cigna
receives an administrative fee from the plan sponsor pursuant to an agreement frequently known
as an “administrative services only agreement” or “ASO agreement”

21. There is no ASO agreement in the context of a fully-insured plan, because in that
circumstance Cigna is both the payor and the administrator. Instead, in the context of a fully-
insured plan, Cigna’s fees for its administrative services are built into the premiums that are
charged to plan sponsors and/or members

22. Regardless of whether a plan is self-insured or fully-insured, Cigna receives
millions of dollars each year from plans and members in administrative fees for its services
which include the maintenance of provider networks and the administration of claims

23. According to Cigna’s 2014 Form 10-K, its medical plans “often” integrate the
Cigna Choice Fund suite of products which include Health Savings Accounts (“HSAs”) and
Health Reimbursement Accounts (“HRAS”). Cigna reports that it “continue[s] to experience
strong growth in these products and they represent a rapidly growing percentage of [its] overall
medical customer base.”

24. An HSA is a tax-exempt trust or custodial account established with a qualified
HSA trustee to pay or reimburse certain medical expenses Only individuals enrolled in a high-

deductible health plan qualify for an HSA under IRS rules The funds contributed to an HSA

Case 2:18-cV-01557-N|QA Document 1 Filed 04/13/18 Page 11 of 11

account are not subject to federal income tax at the time of deposit, and distributions from the
HSA are not taxed if they are used for qualified medical expenses as defined in Section 213(d)
of the lntemal Revenue Code.

25. A Health Reimbursement Account (“HRA”) is an employer-funded medical
reimbursement arrangement, pursuant to which the employer sets aside a specific amount of pre-
tax dollars for employees to pay for health care expenses on an annual basis The employee does
not include distributions from the HRA in income, and does not pay tax on those distributions
only if they are used for qualified medical expenses as defined in Section 213(d) of the lnternal
Revenue Code.

26. Cigna’s 2014 Form 10-K states that “[i]n most cases” Cigna Choice Fund
products are combined with high-deductible health plans A high-deductible health plan is a plan
with a lower premium and a higher deductible than a traditional health plan, according to Cigna’s
website.

27. ERISA requires plan administrators like Cigna to provide reports to members on
the results of how their claim are processed, including how much the treating provider billed for
the medical services at issue; what portion of that bill was deemed to be an “allowed amount”
under the plan (meaning that it is the amount that is “covered” under the plan); what portion of
the allowed amount will be paid by the plan and what portion is owed by the patient (due to a
deductible or co-insurance obligation); and how much was actually paid to the provider on behalf
of the patient The purpose of these Explanation of Benefits forms (“EOBS”) is to report how the
claims administrator processed the claim, including what portion of the medical expenses are

paid by the plan and what portion remains the responsibility of the member.

